    Case 1:12-cv-01332-ABJ Document 64-7 Filed 01/21/14 Page 1 of 5




Comm. on Oversight & Gov’t Reform, U.S. House of Reps. v. Holder, No. 12-1332 (ABJ)

                       DEFENDANT’S RESPONSE TO
               PLAINTIFF’S STATEMENT OF MATERIAL FACTS
                 AS TO WHICH THERE IS NO GENUINE ISSUE

                                      Ex. F
Case 1:12-cv-01332-ABJ Document 64-7 Filed 01/21/14 Page 2 of 5
Case 1:12-cv-01332-ABJ Document 64-7 Filed 01/21/14 Page 3 of 5
Case 1:12-cv-01332-ABJ Document 64-7 Filed 01/21/14 Page 4 of 5
Case 1:12-cv-01332-ABJ Document 64-7 Filed 01/21/14 Page 5 of 5
